Case 5:07-cr-04056-LTS-KEM   Document 208   Filed 05/12/09   Page 1 of 6
Case 5:07-cr-04056-LTS-KEM   Document 208   Filed 05/12/09   Page 2 of 6
Case 5:07-cr-04056-LTS-KEM   Document 208   Filed 05/12/09   Page 3 of 6
Case 5:07-cr-04056-LTS-KEM   Document 208   Filed 05/12/09   Page 4 of 6
Case 5:07-cr-04056-LTS-KEM   Document 208   Filed 05/12/09   Page 5 of 6
Case 5:07-cr-04056-LTS-KEM   Document 208   Filed 05/12/09   Page 6 of 6
